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                                          UNITED STATES OF AMERICA
                                        Federal Trade Commission
                                             Washington, D.C. 20580



 Office of the General Counsel


                                                 October 25, 2023

Lyle W. Cayce
Clerk of the Court
United States Court of Appeals for the Fifth Circuit
600 S. Maestri Place
New Orleans, LA 70130-3408

          Re:            Illumina, Inc. v. FTC, No. 23-60167 (argued Sept. 12, 2023)

Dear Mr. Cayce:

      This letter responds to the Court’s order of October 18, 2023, requesting an
update on the status of proceedings before the European Commission (“EC”) and the
impact, if any, of the EC’s order of October 12, 2023, on this case.

       The EC’s order and relevant background are summarized in the EC press
release that accompanied the October 12 order (attached as Exhibit A hereto).
Briefly, the EC had previously prohibited Illumina’s acquisition of Grail over
concerns that it would stifle innovation and reduce competition in the emerging
market for MCED tests. It also fined Illumina €432 million and Grail €1,000 for
completing the acquisition in violation of their standstill obligation under European
law. The October 12 order requires Illumina to unwind its acquisition of Grail and
imposes transitional measures requiring Illumina to hold Grail as a separate entity
and maintain its viability in the meantime. These transitional measures supersede
the hold-separate obligations in the EC’s previous interim orders.

       Illumina has challenged the EC’s jurisdiction to review its acquisition of
Grail. On July 13, 2022, the European General Court upheld the EC’s jurisdiction.
Illumina is seeking review of that decision in the European Court of Justice (“ECJ”),
which is the highest court of the European Union. The FTC’s understanding is that
a decision in favor of Illumina in that appeal will void the October 12 divestiture
order. Illumina has publicly stated in a press release (Exhibit B hereto) that “if
Illumina is not successful with either its ECJ jurisdictional appeal or in a final
decision of the U.S. Fifth Circuit Court of Appeals, the company will divest GRAIL.”

      Because Illumina is continuing to challenge the EC’s jurisdiction, the
issuance of the October 12 order does not moot this case. Moreover, the timing of
any decision by the ECJ is uncertain. No date has been set for a hearing, and the
FTC does not expect a decision before mid-2024 at the earliest. Under these
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circumstances, the FTC does not believe that the October 12 order should affect this
Court’s timetable for deciding this case.

                                      Respectfully,

                                      /s/ Anisha S. Dasgupta

                                      Anisha S. Dasgupta
                                      General Counsel
                                      Federal Trade Commission

Cc: Counsel of record (via CM/ECF)
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EXHIBIT A
                        European Commission - Press release




Commission orders Illumina to unwind its completed acquisition of GRAIL
Brussels, 12 October 2023
Today, the European Commission has adopted, under the EU Merger Regulation (‘EUMR'),
restorative measures requiring Illumina to unwind its completed acquisition of GRAIL, following
the Commission's decision to prohibit the transaction.
On 6 September 2022, the Commission prohibited the acquisition of GRAIL by Illumina over
concerns that the merger would have stifled innovation and reduced choice in the emerging market
for blood-based early cancer detection tests. Illumina and GRAIL unlawfully completed the merger
during the Commission's in-depth investigation, in breach of EU merger control rules. In July 2023,
the Commission fined both companies for implementing their proposed merger before approval by
the Commission.
The decision
With today's decision, the Commission has adopted restorative measures requiring Illumina to
divest GRAIL and restore the situation prevailing before the completion of the acquisition.
The Commission thus orders the following measures: (i) divestment measures requiring Illumina
to unwind the transaction with GRAIL; and (ii) transitional measures that Illumina and GRAIL
need to comply with until Illumina has dissolved the transaction.
Specifically, the divestment measures must be implemented in line with the following principles:
    First, the dissolution of the transaction must restore GRAIL's independence from Illumina
    to the same level enjoyed by GRAIL prior to the acquisition. Restoring GRAIL's independence
    will remove the harm to competition resulting from Illumina's ability and incentive to delay or
    disadvantage GRAIL's rivals.
    Second, GRAIL must be as viable and competitive after the divestment as it was before
    Illumina's acquisition. This will ensure that the innovation race between GRAIL and its rivals
    can continue in conditions similar to those in place before the transaction.
    Finally, the divestment must be executable within strict deadlines and with sufficient
    certainty, so that the pre-transaction situation can be restored in a timely manner.
Illumina can choose the appropriate divestment methods (e.g., via a trade sale, a capital markets
transaction), provided that it follows all the principles mentioned above. Illumina has to submit a
concrete divestment plan for the disposal of GRAIL, which must be approved by the Commission.
As regards the transitional measures:
    They will ensure that Illumina and GRAIL remain separate until the transaction is unwound
    in order to prevent further integration of GRAIL into Illumina's business and subsequently
    irreparable harm to competition.
    They also oblige Illumina to maintain GRAIL's viability by continuing to fund GRAIL's cash
    needs on an ongoing basis to allow it to further develop and launch its early cancer detection
    test Galleri.
    They will replace the interim measures adopted by the Commission on 28 October 2022 and
    that are currently in force.
In case of non-compliance with the restorative measures, the Commission can impose periodic
penalty payments of up to 5% of the average daily aggregate turnover of the company under Article
15 EUMR. Moreover, companies failing to comply with the restorative measures can be fined up to
10% of their annual worldwide turnover under Article 14 of the EUMR.
Companies and products
Illumina, headquartered in the US, is a global genomics company, which develops, manufactures
and commercialises next generation sequencing (‘NGS') systems, including sequencing instruments,
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consumables and related services. Illumina's NGS systems are medical devices used in a variety of
applications, including by customers in the oncology space that develop and run blood-based tests
that can detect cancer or select appropriate therapies for cancer patients.
GRAIL, also headquartered in the US, is a healthcare company developing blood-based cancer tests
based on genomic sequencing and data science tools. GRAIL's flagship product is “Galleri”, an early
multi-cancer detection test, whose purpose is to detect around 50 cancers in asymptomatic patients
from a blood sample. In April 2021, GRAIL initiated a limited commercialisation of Galleri in the US.
GRAIL has two additional pipeline products: (i) a diagnostic aid for cancer testing used to confirm a
diagnosis of cancer in symptomatic patients, and (ii) a minimal residual disease test, to detect
potential relapse in patients after cancer treatments. GRAIL was founded by Illumina in 2016, and
was spun off later in the same year.
Background
The Illumina/GRAIL merger case
Following a referral request from six Member States, on 19 April 2021 the Commission accepted to
review the proposed acquisition of GRAIL by Illumina and opened an in-depth investigation on 22
July 2021. On 13 July 2022, the General Court confirmed the Commission's jurisdiction to review the
transaction.
While the Commission's in-depth investigation was still ongoing, Illumina publicly announced that it
had completed its acquisition of GRAIL. As a result, on 29 October 2021, the Commission adopted
interim measures to ensure that Illumina and GRAIL would remain separate pending the outcome of
the Commission's merger investigation.
On 6 September 2022, the Commission prohibited the implemented acquisition of GRAIL by Illumina
over concerns that the merger would have stifled innovation and reduced choice in the emerging
market for blood-based early cancer detection tests. Following the prohibition decision, the
Commission renewed and adjusted the interim measures on 28 October 2022.
On 5 December 2022, the Commission sent a Statement of Objections to Illumina and GRAIL
outlining the restorative measures it intended to adopt.
Furthermore, on 12 July 2023, the Commission fined Illumina and GRAIL €432 million and €1,000
respectively, for implementing their proposed merger before approval by the Commission, in breach
of EU merger control rules.
Procedural background
The obligation not to implement a notifiable transaction either before its notification or before it has
been declared compatible with the common market is laid down in Article 7(1) of the EU Merger
Regulation (‘EUMR'). This standstill obligation prevents potentially irreparable negative impact of
transactions on the market, as well as possible irreversible integration of merging parties, pending
the outcome of the Commission's merger investigations.
Compliance with the standstill obligation is essential for legal certainty, enables the Commission to
conduct a correct analysis of the impact of mergers in the market and prevents the potentially
detrimental impact of transactions on the competitive structure of the market. In this way, market
forces work for the benefit of consumers. In cases where the standstill obligation has not been
respected, and the Commission subsequently decides to prohibit the merger, it is necessary to adopt
measures restore the situation pre-transaction.
Article 8(4)(a) of the EUMR authorises the Commission to take appropriate restorative measures to
restore the situation prevailing prior to the implementation of the concentration where the
Commission finds that a concentration has already been implemented and that concentration has
been declared incompatible with the internal market.
More information will be available on the Commission's competition website, in the
Commission's public register under the case number M.10939.
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                                                                                                                          IP/23/4872

Quotes:

Today’s decision restores competition in the development of early cancer detection tests. These tests could represent a
breakthrough in our fight against cancer. By ordering Illumina to restore GRAIL’s independence, we ensure a level playing field in
this crucial market to the ultimate benefit of European consumers.
Commissioner Didier Reynders, in charge of competition policy - 12/10/2023


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           EXHIBIT B


      News Center / Press Releases:

                                      Press Release




                                      PRESS RELEASE




                                      Illumina responds to European
                                      Commission's divestiture order
                                      Oct 13, 2023                                                                                        RECENT ARTICLES


                                      SAN DIEGO, Oct. 13, 2023 /PRNewswire/ -- Illumina, Inc. (NASDAQ:ILMN), has
                                      received an order from the European Commission (EC) directing the company to                         Select an area of interest
                                      divest GRAIL.

                                                                                                                                                          Video: Illumina
                                      Receipt of the order is an important next step in evaluating divestiture options for
                                                                                                                                                          highlights the
                                      GRAIL. Illumina is committed to resolving all issues regarding GRAIL in a timely
                                                                                                                                                          importance of HRD
                                      manner, with the objective of achieving the maximum value for shareholders and the
                                                                                                                                                          testing at ESMO 2023
                                      best outcome for GRAIL. Notably, the terms of the order provide for flexibility in
                                      transaction structure, an encouraging outcome from Illumina's ongoing dialogue with
                                      the EC.                                                                                                             Aegis writes a new
                                                                                                                                                          chapter on pathogen
                                      Under the terms of the EC's order, Illumina will have twelve months to divest GRAIL,                                surveillance
                                      with the potential for a three-month extension, and will be permitted to explore a
                                      range of structures including, but not limited to, a third-party sale or a capital                                  The future of
                                      markets transaction. Illumina will lead the divestiture process and, with the                                       sustainable mining
                                      assistance of financial and legal advisors, has already begun the preparatory work                                  belongs to the microbe
                                      necessary for divestment, if needed.
                                                                                                                                          SHARE
                                      Consistent with the previous interim measures orders, Illumina is required to continue
                                      funding GRAIL until any divestiture. In the instance of a capital markets transaction,
                                      Illumina must capitalize GRAIL at the time of the transaction with two-and-a-half
                                      years of funding based on GRAIL's long-range plan. The order also provides for                                    
                                      Illumina to retain a stake in GRAIL of up to 14.5% and reestablish the royalty
                                      arrangement it previously had in place with GRAIL.

                                      Illumina maintains that the Commission does not have jurisdiction over this
                                      acquisition. The company's jurisdictional challenge remains pending at the European
                                      Court of Justice (ECJ).

                                      If Illumina wins its jurisdictional challenge at the ECJ, the basis for the EC's divestiture
                                      order would be eliminated. However, if Illumina is not successful with either its ECJ
                                      jurisdictional appeal or in a final decision of the U.S. Fifth Circuit Court of Appeals,
                                      the company will divest GRAIL.


                                      Illumina's third quarter 2023 earnings call is scheduled for November 9, and company
                                      leaders will respond to further questions from the investment community at that time.

                                      Cautionary Note on Forward-Looking Statements
                                                                                                                                                                                   Feedback



                                      This release may contain forward-looking statements that involve risks and
                                      uncertainties. Among the important factors to which our business is subject that
                                      could cause actual results to differ materially from those in any forward-looking
                                      statements are: (i) our ability to agree on a divestment plan with the European
                                      Commission pursuant to the divestiture order it has issued; (ii) our ability to timely
                                      execute a strategic alternative that maximizes the value of GRAIL to our stockholders
                                      given the parameters required by the divestiture order; (iii) the risk that ongoing legal
                                      proceedings challenging the decisions of the European Commission and the U.S
                                      Federal Trade Commission do not result in favorable outcomes for us; (iv) the risk
                                      that distractions associated with the potential divestment of GRAIL and associated
                                      legal proceedings or regulatory obligations will harm our business, including current
                                      plans and operations, together with other factors detailed in our filings with the
                                      Securities and Exchange Commission, including our most recent filings on Forms 10-
                                      K and 10-Q, or in information disclosed in public conference calls, the date and time
                                      of which are released beforehand. We undertake no obligation, and do not intend, to




https://www.illumina.com/company/news-center/press-releases/press-release-details.html?newsid=a6b47d4a-d113-47de-bf2b-2c7c9151a8d0                                                            1/2
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                                     update these forward-looking statements, to review or confirm analysts'
                                     expectations, or to provide interim reports or updates on the progress of the current
                                     quarter.


                                     Cautionary Note on Statements of Opinion
                                     In addition to forward-looking statements, this release contains statements of
                                     opinion with which all may not agree.


                                     About Illumina
                                     Illumina is improving human health by unlocking the power of the genome. Our focus
                                     on innovation has established us as a global leader in DNA sequencing and array-
                                     based technologies, serving customers in the research, clinical, and applied markets.
                                     Our products are used for applications in the life sciences, oncology, reproductive
                                     health, agriculture, and other emerging segments. To learn
                                     more, visit illumina.com and connect with us
                                     on Twitter, Facebook, LinkedIn, Instagram, TikTok and YouTube.

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                                       Cision View original content:https://www.prnewswire.com/news-releases/illumina-
                                     responds-to-european-commissions-divestiture-order-301956469.html

                                     SOURCE Illumina, Inc.




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                                                                                                                                                For Research Use Only
                                       At Illumina, our goal is to apply innovative technologies to the analysis of genetic
                                       variation and function, making studies possible that were not even imaginable just a                     Not for use in diagnostic procedures
                                       few years ago. It is mission critical for us to deliver innovative, flexible, and scalable               (except as specifically noted).
                                       solutions to meet the needs of our customers. As a global company that places high
                                       value on collaborative interactions, rapid delivery of solutions, and providing the
                                       highest level of quality, we strive to meet this challenge. Illumina innovative sequencing
                                       and array technologies are fueling groundbreaking advancements in life science
                                       research, translational and consumer genomics, and molecular diagnostics.

                                                                                                                                                                             Careers
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                                       For specific trademark information, see www.illumina.com/company/legal.html.


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https://www.illumina.com/company/news-center/press-releases/press-release-details.html?newsid=a6b47d4a-d113-47de-bf2b-2c7c9151a8d0                                                      2/2
